Case 9:20-cv-80604-RKA Document 12 Entered on FLSD Docket 06/09/2020 Page 1 of 4

Aharon v. Chinese Communist Party (9:20-cv-80604) District Court, S.D. Florida Judge Roy K. Altman

Movant David Andrew Christenson

Federal Court - 299 East Broward Blvd. - Fort Lauderdale, FI. 33301
. . FILED BY_ (AS D.C.
June 1%, 2020

JUN -9 2020

Tenth Amicus — Censorship Equals Genocide — Look Aroun ANGELA E. NOBLE
CLERK U.S. DIST. CT.

S. D. OF FLA. - FT. LAUD,

| must comment on Center for Democracy & Technology v. Trump (1:20-cv-01456) District Court, District
of Columbia Judge Dabney Langhorne Friedrich (Let’s be honest. For profit media companies are suing
Trump. They are using the First Amendment, at this point in time, because it is profitable. Pardon my
language but they don’t give a f*** about the First Amendment unless it is profitable. They are whores.)
(It seems | have an anger issue and | do because | am watching my fellow Americans die because of
Censorship.) .

The Pandemic, the Social Unrest and the Economic Collapse of the World’s Economy are the direct result
of Censorship. What is taking place is the Genocide of Mankind.

_ The First Amendment is crucial to our survival and yet everyone censors us. Look around. We are past
the precipice of hell and accelerating.

At one time | had multiple websites, multiple YouTube accounts with over 750 videos, multiple Twitter
accounts, multiple Facebook accounts, etc. and all have been removed from the internet. 99% of what |
did on the internet has been sanitized and censored. | don’t exist.

The Federal Judiciary censors me in violation of the Constitution.

The Complaint is frivolous, for profit and more sinisterly it is political. It is arrogant for them to think that
they have a right to decide what “Free Speech” is. Everything on the internet is about marketing.
Everyone is trying to sell you something. All of the media companies sell your information. They want to
censor anything that hurts their profits. What the media companies have done is infinitely more harmful
then what Trump has done. If Mankind is to survive, we have to have an uncensored America.

if the media companies want to “comment” and “criticize” then it has to be nondiscriminatory,
nonbiased and nonprejudicial. They must “comment” and “criticize” everyone or no one.

Here is the Introduction from the Complaint: 1. “President Trump’s May 28, 2020 “Executive Order on
Preventing Online Censorship” (“Executive Order”) violates the First Amendment in two fundamental
respects: First, the Order is plainly retaliatory: it attacks a private company, Twitter, for exercising its
First Amendment right to comment on the President’s statements. Second, and more fundamentally, the
Order seeks to curtail and chill the constitutionally protected speech of all online platforms and
individuals—by demonstrating the willingness to use government authority to retaliate against those
who criticize the government.”

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All you have to do is read The New York Times and FOX News to understand why we are screwed. They
publish pure propaganda for profit and they truly don’t care who lives or dies.
Filed in the following cases:

15.

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United States v. Boucher (1:18-cr-00004) District Court, W.D. Kentucky Judge Marianne O.
Battani Federal Court - 231 W. Lafayette Blvd., Room 252 - Detroit, MI 48226 . .
United States v. Flynn (1:17-cr-00232) District Court, District of Columbia Judge E. Sullivan
Federal Court - 333 Constitution Ave. N.W. - Washington D.C. 20001

United States v. Stone (1:19-cr-00018) District Court, District of Columbia Judge A. Jackson
Federal Court - 333 Constitution Ave. N.W. - Washington D.C. 20001 —

Greco v. Peoples Republic of China (5:20-cv-02235) District Court, E.D. Pennsylvania Judge Anita
Blumstein Brody Federal Court - 601 Market Street - Philadelphia, PA 19106

Patella v. Peoples Republic of China (1:20-cv-00433-TDS-JEP) District Court, M.D. North Carolina
Judge Thomas D. Schroeder Federal Court - 251 N. Main Street - Winston-Salem, NC 27101 "
Benitez-White v. Peoples Republic of China (4:20-cv-01562) District Court, S.D. Texas Judge
Ewing Werlein Jr. Federal! Court - 515 Rusk Street - Houston, TX 77002

State of Mississippi v. People's Republic of China (1:20-cv-00168-LG-RHW) District Court, S.D.
Mississippi Judge Louis Guirola Jr. Federal Court - 2012 15th Street - Suite 814 - Gulfport, MS
39501

Azelea Woods of Ouachita v. Peoples Republic of China (3:20-cv-00457-TAD-KLH) District Court,
W.D. Louisiana Judge Terry Alvin Doughty Federal Court - 201 Jackson Street - Suite 215 -
Monroe, Louisiana 71201

Edwards v. Peoples Republic of China (2:20-cv-01393) District Court, E.D. Louisiana Hon N. V.
Jolivette Brown Federal Court - 500 Poydras Street - New Orleans, LA 70130

. State of Missouri v. Peoples Republic of China (1:20-cv-00099) District Court, E.D. Missouri Judge

Stephen Limbaugh - Federal Court --555 Independence Street - Cape Girardeau, MO 63703

. Alters v. Peoples Republic of China (1:20-cv-21108) District Court, S.D. Florida Judge Ursula

Ungaro Federal Court - 400 North Miami Avenue - Room 12-4 - Miami, Florida 33128

. Bella Vista LLC v. The Peoples Republic of China (2:20-cv-00574) District Court, D. Nevada Judge

James C. Mahan - Federal Court - 333 S. Las Vegas Blvd - Las Vegas, NV 89101

. Buzz Photo v. Peoples Republic of China (3:20-cv-00656) District Court, N.D. Texas Judge Ed

Kinkeade Federal Court - 1100 Commerce St. - Room 1625 - Dallas, Texas 75242

. Cardiff Prestige Property, Inc. v. Peoples Republic of China (8:20-cv-00683) District Court, C.D.

California Judge David O. Carter - Federal Court - 411 West Fourth St. - Courtroom 9D - Santa
Ana, CA, 92701

Bourque CPA s & Advisors v. The Peoples Republic of China (8:20-cv-00597) District Court, C.D.
California Judge R. Gary Klausner - Federal Court - 255 East Temple Street - Los Angeles, CA
90012 .

Aharon v. Chinese Communist Party (9:20-cv-80604) District Court, $.D. Florida Judge Roy K.
Altman Federal Court - 299 East Broward Blvd. - Fort Lauderdale, Fl. 33301

Smith v. Chinese Communist Party (2:20-cv-01958) District Court, E.D. Pennsylvania Judge Anita
B. Brody Federal Court - 601 Market Street - Philadelphia, PA 19106

United States v. FLYNN (1:17-cr-00232) District Court, District of Columbia Judge John Gleeson
Debevoise & Plimpton LLP - 919 Third Avenue - New York, New York 10022
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19.

20.

United States v. FLYNN (1:17-cr-00232) District Court, District of Columbia Attorney Beth
Wilkinson - 2001 M Street N.W. - 10th Floor - Washington, D.C. 20036
United States v. Manning (1:19-dm-00012) District Court, E.D. Virginia Judge Anthony John

- . Trenga Federal Court - 401 Courthouse Square - Alexandria, VA 22314

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United States v. Snowden (1:19-cv-01197) District Court, E.D. Virginia Judge Liam O'Grady
Federal Court - 401 Courthouse Square - Alexandria, VA 22314

United States v. Snowden (1:13-cr-265)) District Court, E.D. Virginia Senior Judge Claude M.
Hilton Federal Court - 401 Courthouse Square - Alexandria, VA 22314

United States v. Winner (1:17-cr-00034) District Court, S.D. Georgia Judge James Randal Hall
Federal Court - 600 James Brown Blvd. - Augusta, GA 30901

United States v. Assange (1:18-cr-00111) District Court, E.D. Virginia Senior Judge Claude M.
Hilton Federal Court - 401 Courthouse Square - Alexandria, VA 22314

In re: Michael Flynn (20-5143) Court of Appeals for the D.C. Circuit Clerk Mark Langer U. S.
Appeals Court D.C. - 333 Constitution Ave. N.W. - Washington D.C. 20001

In re: Reality Winner (20-11692) Court of Appeals for the 11" Circuit Clerk David Smith Appeals
Court 11" Circuit - 56 Forsyth St., N.W. - Atlanta, Georgia 30303

Center for Democracy & Technology v. Trump (1:20-cv-01456) District Court, District of
Columbia Judge Dabney Langhorne Friedrich - Federal Court - 333 Constitution Ave. N.W. -
Washington D.C. 20001

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